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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                                                          CASE NO.: 18-13308-BKC-MAM
                                                                        PROCEEDING UNDER CHAPTER 13

IN RE:

JOHN WAYNE PETERSON, JR.
XXX-XX-6611

_____________________________/
DEBTOR

      CHAPTER 13 TRUSTEE'S NOTICE OF PLAN COMPLETION AND IF APPLICABLE REQUEST
            FOR ORDER TERMINATING THE EMPLOYEE WAGE DEDUCTION ORDER

    COMES NOW, Robin R. Weiner, Chapter 13 Trustee in the above-styled action and files this Notice of
Plan Completion and Request for Order Terminating the Employee Wage Deduction Order, and respectfully
shows the Court as follows:

    The Chapter 13 Trustee has verified the Debtor in the above-referenced Chapter 13 case has completed
payments under the confirmed plan. The Trustee does not verify any payments made direct and outside the
plan have been paid and are current. The Chapter 13 Trustee respectfully requests that this Court enter an
order terminating the Employee Wage Deduction Order, if applicable.       The Chapter 13 Trustee's Final
Report of Estate will be submitted as soon as practicable after all payments made to creditors have been
negotiated and no outstanding disbursements remain. This case will remain open pending receipt of the
Chapter 13 Trustee's Final Report of Estate. Upon submission, an order discharging the Chapter 13 Trustee
will be entered in this case.


Debtor must complete and file a Certificate of Compliance, Motion for Issuance of Discharge and
Notice of Deadline to Object (LF-97) or no discharge of debtor will be issued in this case.

   RESPECTFULLY SUBMITTED this 9th day of November, 2021.

                                                                 /s/ Robin R. Weiner
                                                                 _____________________________________
                                                                 ROBIN R. WEINER, ESQUIRE
                                                                 STANDING CHAPTER 13 TRUSTEE
                                                                 P.O. BOX 559007
                                                                 FORT LAUDERDALE, FL 33355-9007
                                                                 TELEPHONE: 954-382-2001
                                                                 FLORIDA BAR NO.: 861154
